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                                NO. 18-2854



             IN T H E UNITED S T A T E S D I S T R I C T C O U R T
          FOR T H E E A S T E R N D I S T R I C T O F PENNSYLVANIA



                          IN T H E M A T T E R OF:
                     IN R E : M I C H A E L K. PEARSON
                              Appellant/Creditor

                                     V.


                            SHARMIL D. M c K E E
                              Appellee/Debtor


        On Appeal from the Order of the United States Bankruptcy Court
                   for the Eastern District o f Pennsylvania



           United States Bankruptcy Court Judge Jean K . FitzSimon
                          Case No. 17-10941-JKF



                           BRIEF OF APPELLANT


                                   L A W O F F I C E O F K A R I N M. GUNTER

                                   Karin M . Gunter, Esquire
                                   85 Old Cedarbrook Road
                                   Wyncote, P A 19095
                                   (215) 548-9992

Dated: August 3 1 , 2018           Counsel for Appellant, Michael K . Pearson
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                                STATEMENT OF JURISDICTION

        This is an appeal of a final order from the U . S . Bankruptcy Court of the Eastern District

of Pennsylvania. Jurisdiction is found is 28 U . S . C . §§ 158(a); 1334(a), (b) and 11 U . S . C . §

8001(a). Venue is proper under 28 U . S . C . §§ 1408, 1409.

                                       O R D E R IN Q U E S T I O N

        The Order appealed from was entered by the U . S . Bankruptcy Court for the Eastern

District of Pennsylvania (FitzSimon, J ) on June 19, 2018 granting Appellee/Debtor Sharmil D .

McKee's Motion for Contempt o f a Discharge Order against Appellant/Creditor Michael K .

Pearson. The final contempt Order is appended hereto.

           S T A T E M E N T O F T H E S C O P E AND T H E S T A N D A R D O F R E V I E W

        The standard of review is clearly erroneous, and the scope of review is plenary. In re

Shervin. 200 B . R . 109, 111 ( E . D . Pa. 1996)(citation omitted).

                         S T A T E M E N T O F T H E ISSUES P R E S E N T E D

   1.   Whether the Lower Court clearly erred as a matter of law, when it granted Appellee's

        ("Debtor" or " M c K e e " ) motion for contempt of charge order where Appellee failed to

        prove Appellant ("Creditor" or "Pearson"), a child support creditor, had a duty and a right

        to tell Philadelphia Family Court not to reduce child support payments. [Suggested

        Answer: Y e s ] L O W E R C O U R T D I D N O T P U B L I S H A N O P I N I O N N O R G I V E

        L E G A L BASIS FOR ITS ORDER

   2.   Whether the Lower Court clearly erred as a matter of law, when it granted

        Appellee/Debtor's motion for contempt of discharge order where Appellant is a child

        support creditor, and the discharged debt relates to an ongoing child support matter ant

        not to a judgment Appellant is seeking to enforce. [Suggested answer: Y e s ] L O W E R

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          C O U R T DID N O T P U B L I S H A N OPINION N O R G I V E L E G A L B A S I S FOR ITS

          ORDER

     3.   Whether the Lower Court clearly erred as a matter of law, when it failed to rule on the

          substance of Appellee/Debtor's memorandum of law in support of her motion for

          contempt but rather granted the motion based solely on Appellant's failure to file a

          responsive memorandum and on his retention of counsel 5 days before the scheduled

          hearing on the memoranda. [Suggested Answer: Y e s ] L O W E R C O U R T D I D N O T

          P U B L I S H A N OPINION NOR G I V E L E G A L B A S I S FOR ITS O R D E R

     4.   Whether the Lower Court clearly erred as a matter of law, when it failed to allow

          Appellant to argue the substantive matters of Appellee's motion for contempt o f

          discharge order at the June 19, 2018 hearing where it previously denied in substance

          Appellee's motion for contempt against Appellant without prejudice to [her] making

          some subsequent legal argument. [Suggested Answer: Y e s ] L O W E R C O U R T D I D N O T

          P U B L I S H A N OPINION N O R G I V E L E G A L B A S I S FOR ITS O R D E R

                                   STATEMENT OFTHE CASE

I.        Statement o f Form

          This matter represents an appeal of a final order, dated June 19, 2018, from the U . S .

Bankruptcy Court for the Eastern District of Pennsylvania ("Lower Court") finding Appellant, a

child support creditor, in contempt of a discharge order.

          Procedural History and Prior Determinations

          On February 9, 2017, Appellee initiated an action for a voluntary petition under Chapter

7 of the bankruptcy code. Subsequently, she filed various schedules including, but not limited

to, a Schedule E - Creditors who have Unsecured Claims on February 24, 2017, inter alia. The

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trustee held an initial 341(a) creditors meeting on April 5, 2017, which was continued to May 18,

2017, when it concluded. Thereafter, on June 8, 2017, the trial court entered an order

discharging the debtor; followed by an order on July 7, 2017 approving the trustee's report,

discharging the trustee and closing the case.

       On September 22, 2017, Appellee filed a motion to reopen the bankruptcy case ("Reopen

Motion") in order to file a motion for contempt of discharge order against Appellant,

Philadelphia Family Court and another individually named defendant.        On October 11, 2017,

Philadelphia Family Court and Appellee entered settlement by stipulation, which became an

order of court on October 31,2017.' Upon information and belief, the trial court held a hearing

on November 8, 2017 in the matter, which was continued to December 6, 2017, at which time

the trial court granted the reopen motion, inter      alia.

       For nearly four months there was no activity in the case until April 4, 2018, when the trial

court scheduled a hearing on Appellee's contempt motion for April 19, 2018. A t that time.

Appellant remained as the sole defendant.      A t the April 19, 2018 hearing, the trial court

established a briefing schedule for the parties, and relisted the hearing for June 19, 2018.

Appellee/Debtor's brief was due on May 18, 2018 and Appellant/Creditor's brief on June 1,

2018. A t the June 19, 2018 listing, the trial court failed to hold an evidentiary hearing, failed to

make a ruling or publish an opinion, and entered a contempt order against Appellant.

II.    Name of Judge Whose Determination to be Reviewed

       The Honorable Jean K . FitzSimon

III.   B r i e f Statement of Order under Review




  The October 2017 stipulation between Appellee/Debtor and Philadelphia Family Court resulted
in Appellant's child support overpayment in the amount of $36,507.25 to be set equal to $0.00.
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        The June 19, 2018 order^ of the lower court finding Appellant in contempt of a Chapter 7

order discharging Appellee o f domestic support obligations (overpayment o f child support).

                                SUMMARY O F ARGUMENT

        The lower court clearly erred as a matter of law and abused its discretion with regards to

its order of June 19, 2018 when it found Appellant, a child support creditor, in contempt of a

discharge order by default; failed to rule as to whether Appellant has a duty and a right to tell

Philadelphia Family Court not to reduce child support based on the substantial overpayment of

child support to Appellee; failed to take into consideration the ongoing nature of the child

support matter between the parties; failed to allow Appellant to make substantive arguments at

the June 19, 2018 hearing; and failed to rule or publish an opinion on the substance of

Appellee/Debtor's legal arguments raised in her contempt pleading and brief, inter            alia.

                                        ARGUMENT

   I.      T H E L O W E R C O U R T E R R E D A S A M A T T E R OF L A W AND A B U S E D ITS
           DISCRETION, WHEN I T GRANTED A P P E L L E E / D E B T O R ' S MOTION FOR
           CONTEMPT OF D I S C H A R G E ORDER W H E R E A P P E L L E E F A I L E D T O PROVE
           APPELLANT, A C H I L D SUPPORT CREDITOR, HAD A D U T Y AND A RIGHT
           TO T E L L P H I L A D L E P H I A F A M I L Y C O U R T N O T T O R E D U C E C H I L D
           SUPPORT PAYMENTS.

           Appellee broadly and erroneously averred Appellant as a bankruptcy court

creditor has an affirmative duty to stop an alleged joint effort with Philadelphia Family

Court to collect the discharged child support overpayment. (Apr. 19, 2018 T r . at 4-5)

The trial court then cited two fatal flaws in Appellee's motion for contempt of discharge

order against Appellant ("Motion").    {Id. at 5) First, Appellee failed to plead facts stating

there was a joint effort between Appellant and Philadelphia Family Court. {Id.) A n d


^ The June 19, 2018 order at issue incorrectly identifies the underlying bankruptcy action as Case
No. 17-10941-sr. The correct case number is 17-10941-jkf.
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second. Appellee failed to plead facts sufficient to show that Appellant took any action

regarding the alleged contempt.    {Id.)

           More specifically, the trial court stated Appellee made no allegations that

Appellant "had authority to tell the Family Court how to enforce their own orders,"

noting "[t]hey [Family Court] were the ones that determined that there was an

overpayment and they, therefore, changed the order to the debtor." (Apr. 19, 2018 at 6,

8) The trial court then concluded for the purposes of holding Appellant in contempt,

Appellee needed show Appellant's affirmative actions and obligations related to the

alleged contempt.   {Id. at 8-9, 10-12) Or, more plainly, the trial court stated "[t]he

question becomes, is there a duty and a right to tell the Court not to reduce the

payments".   {Id. at 12)(emphasis added) Appellee failed to produce any such evidence in

her supportive memorandum of law ("Memorandum"), as explained more fully below.

          However, what Appellee attempted to do in her memorandum, for the first

time and in an effort to overcome the flaws noted by the trial court, was to make bald

allegation against Appellant, which contradicted her motion allegations. Specifically, in

her motion. Appellee states Philadelphia Family Court "determined that Pearson overpaid

his child support obligation by $36,507.25" and in July 2017 the court "served [her] a

notice of its intent to collect the $36,507.25 liability on Pearson's behalf by reducing

Pearson's obligation by twenty ( 2 0 % ) percent." (Mot. 4, 12) Appellee never averred

Appellant initiated the process for use of overpayments to reduce his ongoing child

support obligations in her motion or before the trial court on April 19, 2018. But, in her

May 19, 2018 memorandum. Appellee singularly states ". . . Creditor Pearson instructed

the Family Court to collect his support overpayment." (Mem. at 2) Such bald allegation

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is without credibility or support o f any evidence provided to the trial court. Nor does it

address the issue contemplated by the trial court of whether Appellant had a duty and a

right to tell Philadelphia Family Court to reduce his child support payments.            Without

an opinion or ruling by the trial court on the substance of the contempt motion, it is

unclear how much weight the lower court gave this allegation.

    II.    T H E L O W E R C O U R T E R R E D A S A M A T T E R OF L A W A N D A B U S E D I T S
            DISCRETION, WHEN IT GRANTED A P P E L L E E / D E B T O R ' S MOTION FOR
            CONTEMPT OF D I S C H A R G E ORDER W H E R E A P P E L L A N T IS A CHILD
            SUPPORT CREDITOR, A N D T H E DISCHARGED D E B T R E L A T E S TO A N
            ONGOING C H I L D SUPPORT M A T T E R A N D NOT TO A JUDGMENT
            A P P E L L A N T IS S E E K I N G T O E N F O R C E .

           Appellee in her motion relies on 11 U . S . C . § 524(a)^ and the holdings of In re Taylor,

478 B . R . 419 ( B . A . P . lO"' Cir. 2012) to allege Appellant "intentionally and willfully collect[ed] a

discharged debt while knowledgeable of the discharge order." (Mot. f 27) Further, in her

memorandum. Appellee relies on In re Myers, 491 F.3d 123 (3d Cir. 2007) for finding Appellant

in contempt of the bankruptcy discharge order. (Mem. at 3-9) Appellee's reliance on 11 U . S . C .

§ 524(a), Taylor and Myers are misplaced.

           B y admission. Appellee states she and Appellant are the parents of a minor child.

(Mot. 2) and that Appellant pays child support for their minor child.        {Id.) Appellee further

admits the Court of Common Pleas, Philadelphia County, Family Court Division, Domestic

Relations Section"* ("Philadelphia Family Court") collects child support from Appellant, remits



^ In her motion for contempt, M c K e e alleges Pearson violated 11 U . S . C . § 727(b). However,
bankruptcy law is clear that the application law at issue in this matter is 11 U . S . C . § 524(a). See
In re Szenes, 515 B . R . I , 4 (Bankr. E . D . N . Y . 20I4)(holding ". . . the granting o f the discharge
triggered. . . (2) the operation of the discharge injunction under section 524, which protects the
debtors from any personal liability on the discharged debts. 11 U . S . C . § 524(a)")
"* In her motion for contempt, M c K e e simply identifies the court as Family Court of Philadelphia.
See Mot.      3' 4- Appellant herein more accurately identifies the proper court entity at issue.
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the payments to Appellee and enforces the child support order.       {Id. ^ 3). Finally, Appellee

admits Appellant has an overpayment in the amount o f $36,507.25 in child support as

determined by Philadelphia Family Court.      {Id. 4)

           On or about February 9, 2017, when Appellee filed her Chapter 7 voluntary

bankruptcy petition, she knew Appellant "overpaid his child support obligation by $36,507.25."

(Mot.    4-6) Appellee filed a Scheduled E , as amended, listing Appellant and Philadelphia

Family Court as creditors for the same $36,507.25 child support overpayment, which Appellee

labelled as a "liability."   {Id.   6-7) Appellee's labelling the overpayment of child support by

Appellant as a liability is a misrepresentation to the bankruptcy court and an effort to circumvent

state and federal law, which allow for the exemption of child support obligations from

bankruptcy discharge under 11 U . S . C . § 523(a)(5) and for the reduction of ongoing child support

payments to recapture overpayments by obligors.

           Specifically, Appellant avers pursuant to Pennsylvania Rules of C i v i l Procedure,

Philadelphia Family Court is permitted to reduce an ongoing child support order by 20%, when

there are overpayments and an ongoing child support order, inter alia. Pa.R.C.P. 1910.19(g)\

{See also Mot. ^ 12 (admitting Philadelphia Family Court initiated overpayment recapture

proceeding)) Appellee is aware o f this provision as she is a former family law attorney and her

current attorney in this bankruptcy matter is also her family law attorney in the child support

matter. {See M c K e e C h . 7 Pet. at 2, 4; Apr. 19, 2018 T r . at 13-14) Furthermore, 23 Pa.C.S. §




  More precisely, Pa.R.C.P. 1910.19(g)(1) states in part, " I f there is an overpayment in an
amount in excess of two months of the monthly support obligation and a charging order remains
in effect, after notice to the parties as set forth below, the domestic relations section shall reduce
the charging order by 2 0 % or an amount sufficient to retire the overpayment by the time the
charging order is terminated." (emphasis added)
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4352 generally gives Philadelphia Family Court continuing jurisdiction over support orders to

modify them to recapture overpayments by obligors.

            Appellant's child support obligations, i.e., charging order, are ongoing and remains

in effect. (Apr. 19, 2018 T r . at 10, 12-14) In fact. Appellee currently seeks a modification of

Appellant's current child support order to "adjust child support payments" upward at a scheduled

Philadelphia Family Court hearing scheduled for May 1, 2018. {Id.)         B y making such request

while simultaneously denying Appellant access to his overpayments related to the same charging

order. Appellee seeks to be unduly enriched and to unduly harm Appellant v i a her intentional

misrepresentation o f Appellant's overpayments as "liabilities" subject to bankruptcy discharge.

          Moreover, reliance on Taylor and Myers further highlights Appellee's improper

intent. Myers involves a non-child support creditor seeking to enforce a money judgment

entered in a foreign state court and a subsequent Chapter 13 bankruptcy action filing initiated by

a debtor. Myers, 491 F.3d at 122, 123. The instant matter involves the overpayment o f child

support by a parent, who is not seeking to enforce a money judgment, but for whom a court of

competent jurisdiction sought to modify his child support charging order to recapture

overpayments by operation o f law. Thus, the Myers facts are significantly distinguishable from

the instant action to render Myers completely irrelevant.

          Finally, Appellee does not fare any better with her use o f Taylor. Taylor involves a

creditor/former spouse seeking to enforce a money judgment for overpayment of spousal support

determined to have incurred " i n connection with a divorce decree." 478 B . R . at 422. The Taylor

court specifically found that such a money judgment was not a domestic support obligation

subject to exemption from discharge pursuant to 11 U . S . C . § 523(a)(5) in debtor/former spouse's

subsequent Chapter 7 bankruptcy action, since the money judgment at issue was not support

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based on the "the parties' intent and the substance of the obligation." Taylor, 478 B . R . at 426

(citations omitted). In that case, the overpayment of spousal support became a money judgment

after the creditor/former spouse filed a petition to terminate spousal support.       (Id.) The court

determined the overpayment judgment was not intended to support the creditor/former spouse,

thus, it is not excepted under section 523(a)(5) of the bankruptcy statute. (M)(emphasis added)

           Unlike the facts in Taylor, the facts in the case sub judice       involve recapture of

overpayment of support in an ongoing child support matter. Pennsylvania law provides for

recapture of such amounts by the court of competent jurisdiction under Pa.R.C.P. 1910.19(g)(1)

and 23 Pa.C.S.A. §4352 generally. The facts relied upon by Appellee in Taylor are more closely

related to Pa.R.C.P. 1910.19(g)(2), where there is an overpayment o f child support at the time

the child support order is terminated. This later procedure is not implicated in the instant matter.

   III.    T H E L O W E R C O U R T E R R E D A S A M A T T E R OF L A W A N D A B U S E D ITS
           D I S C R E T I O N W H E N I T F A I L E D TO R U L E ON T H E S U B S T A N C E OF
           A P P E L L E E / D E B T O R ' S MEMORANDUM OF L A W IN SUPPORT OF H E R
           MOTION F O R CONTEMPT B U T R A T H E R G R A N T E D T H E MOTION B A S E D
           S O L E L Y ON APPELLANT'S FAILURE TO F I L E A RESPONSIVE
           M E M O R A N D U M A N D HIS RETENTION OF COUNSEL 5 D A Y S B E F O R E
           THE SCHEDULED HEARING.

           In the underlying contempt matter, the trial court had an affirmative duty to find

Appellant willfully violated a discharge order.     See generally I n re Szenes, 515 B . R . 1, 6, 7

(Bankr. E . D . N . Y . 2014) Furthermore, the trial court in awarding damages legal/counsel fees

must find " ( 1 ) [Appellant] willfully disobey[ed] a court order, and (2) acted in bad faith,

vexatiously, wantonly, or for oppressive reasons."      (Id. at 7)(citations omitted) Additionally, an

award of punitive damages is also available upon a finding "by clear and convincing evidence"

that Appellant "had knowledge of the discharge and violated it by continuing with the activity

enjoined by the [discharge] injunction" and did so with "either malevolent intent or a clear

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disregard and disrespect o f the bankruptcy laws." {Id. at 7-8)(citations omitted) The trial court in

the instant matter failed to make any such findings.

           Rather than follow proper procedures for finding contempt based on facts and law in

this matter, the lower court on June 19, 2018 transferred the burden o f proving contempt on

Appellant as the non-moving party. Specifically, Judge FitzSimon stated "[Appellant] has all the

notice he needed, sat on his rights, and he's now entitled to judgment[?]" (June 19, 2018 T r . at

7) She made this assertion after concluding a problem exited because there was no responsive

pleading filed by Appellant. {Id. at 4) Although it certainly was not ideal that Appellant did not

file a responsive pleading by the time of hearing, the trial court still had an affiramative duty to

determine whether Appellant willfully violated the discharge order and make additional

determinations regarding the appropriateness of damages based on the pleadings before it, as

appropriate. It did not.

          Instead, the trial court created what is in essence contempt by default based solely on

factors not related to contempt. Those factors can best be described as Appellant's failure to file

a responsive brief in the contempt matter and failure to inform opposing counsel of retention of

counsel. The factors did not address whether Appellant took affirmative steps to violate the

discharge order. The legal standard created by the lower court in the instant matter is an

improper basis for finding contempt under 11 U . S . C . §524.

   IV.     T H E L O W E R COURT A B U S E D ITS DISCRETION WHEN I T F A I L E D TO
           A L L O W A P P E L L A N T TO A R G U E T H E S U B S T A N T I V E M A T T E R S OF
           A P P E L L E E ' S MOTION FOR CONTEMPT OF D I S C H A R G E ORDER A T T H E
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           SUBSEQUENT L E G A L ARGUMENT.




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            Furthermore, when Appellant via the undersigned attempted to make argument on

the substantive issues before it, the lower court denied Appellant the opportunity to make such

argument. (June 19, 2018 Tr. at 7-8). Specifically, Appellant attempted to argue the

precedential nature of discharging in bankruptcy of child support obligations, which is

disallowed by the Commonwealth o f Pennsylvania, mter a/m.         {Id. at 7-8) The lower court

prevented further argument, dismissed the content of the argument, and abruptly and without

judicial decorum stated "Counsel, I don't care about the law of Pennsylvania because you didn't

give me the opportunity," inter alia.       {Id. at 8-9) The court seemed more concerned about

"fairness" to Appellee than the rule of law and its duty to make an affirmative finding of

contempt.    {Id. at 9) A t a minimum, the trial court set a threshold Appellee had to meet to find

contempt. {See Apr. 19, 2018 T r . at 6, 8-9, 10-12). It made no determination whether Appellee

met its burden of proof or addressed the concerns raised by the lower court. Instead, the court

found Appellant in contempt for not filing a responsive pleading and for failing to provide a

courtesy call to opposing counsel regarding representation. (June 19, 2018 T r . at 7-10, I I ) Out

of what appeared to be exasperation, the trial court sought to schedule a hearing for damages

against Appellant and entered an order of contempt, specifically preluding any further argument

on the underlying finding of contempt.    {Id. at I I , 12) The trial court never addressed the

substantive issues of willful violation of the discharge order, malevolent intent and the like.

            Finally, the trial court, in an effort to coordinate bankruptcy proceedings with the

parties' child support proceedings, instructed counsel for Appellee to "advise them [Philadelphia

Family Court] on May C that I have essentially currently denied your motion against Mr.

Pearson without prejudice to your making some subsequent legal arguments - - all right - so, that

at least from that standpoint, they know that this has not resolved in your favor." (Apr. 19, 2018

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Tr. at 13-14) The implication here is that the trial court would hold an evidentiary hearing on

June 19, 2018, allow for testimony and argument on the contempt issue and make a ruling

thereupon. It did none of these things.

                                      CONCLUSION

       W H E R E F O R E , for the above reasons. Appellant Michael K . Pearson, by and through his

undersigned counsel, respectfully request this Honorable Court V A C A T E the June 19, 2018

contempt order of the Lower Court, remand the matter for further proceedings on the substance

of Appellee/Debtor Sharmil D . M c K e e ' s Motion for Contempt of Discharge Order, and other

such relief as this Court deems appropriate.

                                                        Respectfully submitted:



                                                        /s/ K a r i n M . Gunter
                                                        K a r i n M . Gunter, Esquire
                                                        Attorney for Appellant, Michael K .
                                                        Pearson




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                                      CERTIFICATE OF SERVICE

      I , Karin M . Gunter, Esquire, do hereby certify that I served a true and correct copy of

Brief of Appellant/Creditor Michael K . Pearson was served on counsel for Appellee/Debtor,

Glenn A . Brown, Esquire and the Lower Court, the Honorable Jean K . FitzSimon via court's

electronic pursuant to Fed. R . C i v . P. 5(b)(2)(E) or first class, U . S . mail postage prepaid:



The Honorable Jean K . FitzSimon                     Glenn A . B r o w n , Esquire
Robert N . C . N i x Federal Courthouse              Real World L a w , P . C .
900 Market Street, Suite 203                         6778 Market Street
Philadelphia, P A 19107                              Upper Darby, P A 19083
                                                     Philadelphia, P A 19102
                                                            Counsel for Debtor




Date: August 31, 2018 K a r i n M . Gunter
                                                     K a r i n M . Gunter, Esquire
                                                     Counsel for Appellant/Creditor, Michael K .
                                                     Pearson




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